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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------- x
                                              :
                                              :
UNITED STATES OF AMERICA
                                              :    20 Cr. 008 (MKB)
                                              :
                       v.                     :
                                                   NOTICE OF MOTION TO WITHDRAW
                                              :
                                                   AS COUNSEL PURSUANT TO LOCAL
                                              :
                                                   RULE 1.4
STEVEN NERAYOFF, and                          :
MICHAEL HLADY,                                :
                                              :
                                              :
                  Defendants.                 :
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                PLEASE TAKE NOTICE that Amanda Kramer, Esq., upon an affirmation

submitted herewith, respectfully moves for an Order pursuant to Local Civil Rule 1.4, allowing

her to withdraw as counsel for defendant Steven Nerayoff.

                PLEASE TAKE FURTHER NOTICE that oral argument on this motion is not

requested.


Dated:       New York, New York
             January 18, 2020


                                           By:     _______________________________
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Cc:      Steven Nerayoff
         All counsel of record, via ECF
